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                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 IN RE:                                                CASE NO. 10-79803


 SUSAN PISTILLO,                                       CHAPTER: 7
                  Debtor.



 PHH MORTGAGE CORPORATION,
 SUCCESSOR BY MERGER TO OCWEN                          CONTESTED MATTER
 LOAN SERVICING, LLC AS ATTORNEY-
 IN-FACT FOR DEUTSCHE BANK
 NATIONAL TRUST COMPANY, AS
 TRUSTEE FOR IXIS REAL ESTATE
 CAPITAL TRUST 2006-HE3 MORTGAGE
 PASS THROUGH CERTIFICATES, SERIES
 2006-HE3,
 Movant,
                  v.
 SUSAN PISTILLO, Debtor,
                  Respondent.


                                      NOTICE OF HEARING
        PLEASE TAKE NOTICE that PHH Mortgage Corporation, successor by merger to
Ocwen Loan Servicing, LLC as attorney-in-fact for Deutsche Bank National Trust Company, as
Trustee for Ixis Real Estate Capital Trust 2006-HE3 Mortgage Pass Through Certificates, Series
2006-HE3 has filed a Motion to Compel Debtor to Surrender Real Property Pursuant to Statement
of Intention (“Motion”) and related papers with the Court seeking an Order Compelling Debtor to
Surrender Real Property.
       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion
in Courtroom 1204, United States Courthouse, 75 Ted Turner Drive SW, Atlanta, GA 30303, at
10:15 A.M., on November 5, 2020.
        Your rights may be affected by the Court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the Court

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to grant the relief sought in these pleadings, or if you want the Court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you file a
written response, you must attach a certificate stating when, how, and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the Clerk
at least two business days before the hearing. The address of the Clerk’s Office is: Clerk, U.S.
Bankruptcy Court, 75 Ted Turner Drive SW, Room 1340, Atlanta, GA 30303. You must also mail
a copy of your response to the undersigned at the address stated below.
         If a hearing on the motion for relief from the automatic stay cannot be held within thirty
(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of
filing the motion and agrees to a hearing on the earliest possible date. If a final decision cannot be
rendered by the Court within sixty (60) days of the date of the request, Movant waives the
requirement that a final decision be issued within that period.
       Given the current public health crisis, hearings may be telephonic only. Please check the
“Important Information Regarding Court Operations During COVID-19 Outbreak” tab at the top
of the GANB Website prior to the hearing for instructions on whether to appear in person or by
phone.


                                                        /s/Brian K. Jordan
                                                        Brian K. Jordan, Bar No.: 113008
                                                        Counsel for Creditor PHH
                                                        Mortgage Corporation, successor by
                                                        merger with Ocwen Loan Servicing, LLC,
                                                        as attorney-in-fact for Deutsche Bank
                                                        National Trust Company, as Trustee for
                                                        Ixis Real Estate Capital Trust 2006-HE3
                                                        Mortgage Pass Through Certificates,
                                                        Series 2006-HE3
                                                        Aldridge Pite, LLP
                                                        Fifteen Piedmont Center
                                                        3575 Piedmont Road, N.E., Suite 500
                                                        Atlanta, GA 30305
                                                        Phone: (404) 994-7400
                                                        Fax: (619) 590-1385
                                                        Email: bjordan@aldridgepite.com




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 IN RE:                                               CASE NO. 10-79803


 SUSAN PISTILLO,                                      CHAPTER: 7
                  Debtor.



 PHH MORTGAGE CORPORATION,
 SUCCESSOR BY MERGER TO OCWEN                         CONTESTED MATTER
 LOAN SERVICING, LLC AS ATTORNEY-
 IN-FACT FOR DEUTSCHE BANK
 NATIONAL TRUST COMPANY, AS
 TRUSTEE FOR IXIS REAL ESTATE
 CAPITAL TRUST 2006-HE3 MORTGAGE
 PASS THROUGH CERTIFICATES, SERIES
 2006-HE3,
                  Movant,
                  v.
 SUSAN PISTILLO, Debtor,
                  Respondent.


                  MOTION TO COMPEL DEBTOR TO SURRENDER
            REAL PROPERTY PURSUANT TO STATEMENT OF INTENTION

        Pursuant to 11 U.S.C. Section 521(a)(2)(B) and in accordance with Susan Pistillo’s

(“Debtor”) Statement of Intention (the “Statement of Intention”), PHH Mortgage Corporation,

successor by merger to Ocwen Loan Servicing, LLC as attorney-in-fact for Deutsche Bank

National Trust Company, as Trustee for Ixis Real Estate Capital Trust 2006-HE3 Mortgage Pass

Through Certificates, Series 2006-HE3 (“Creditor”), hereby submits its Motion to Compel Debtor

to Surrender Real Property Pursuant to Statement of Intention (“Motion to Compel”) requesting


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that this Court enter an order compelling Debtor to surrender to Creditor the real property located

at 15 Princeton Avenue, Hewitt, New York 11557 (the “Property”). Creditor’s Motion to Compel

is supported by the arguments and authorities cited herein, the record before the Bankruptcy Court,

and the concurrently filed Request for Judicial Notice. The undersigned states the following under

penalty of perjury in support of its Motion to Compel.

                                 PRELIMINARY STATEMENT

        This Court should grant Creditor’s Motion to Compel based on Debtor’s filings/statements

in the present case made under the penalty of perjury and Debtor’s post-discharge efforts to thwart

Creditor’s attempts to foreclose upon the Property. As explained more fully below: (i) after

indicating an intent to the surrender the Property in the present bankruptcy case and obtaining a

Chapter 7 discharge based on the same, Debtor improperly commenced a quiet title action in New

York Supreme Court, County of Nassau and has repeatedly advanced inconsistent positions in the

2008 Foreclosure Action and 2017 Quiet Title Action (defined below) in direct contravention of

Debtor’s sworn Statement of Intention in Debtor’s bankruptcy case in which she engineered a “no

asset” case; (ii) Creditor will be unduly prejudiced if the Court denies the Motion to Compel and

Debtor will have been permitted to turn her Chapter 7 Discharge into a sword to attack her Creditor

as opposed to the shield the Discharge afforded by the Bankruptcy Code; (iii) the Bankruptcy

Court is the appropriate court to compel Debtor to act in accordance with representations she made

to this Court under penalty of perjury in her Statement of Intention; and (iv) since receiving her

discharge and physically and constructively abandoning the Property, Debtor has refused to

surrender the Property and continues to improperly assert rights to the Property.

        Accordingly, the Court should grant Creditor’s Motion to Compel and enter an Order

compelling Debtor to surrender the Property in accordance with her filings in the present

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bankruptcy case, her sworn statements, and her Statement of Intention filed herein under the

penalty of perjury.

I.      FACTUAL BACKGROUND

        A.      The Loan

        1.      On or about September 26, 2006, Debtor and Michael Marcinanis (together the

“Borrowers”), obtained a loan in the principal amount of $441,000.00, dated September 26, 2006,

which was executed by Borrowers (the “Loan”). The Loan is memorialized by a note in the amount

of $441,000.00, dated September 26, 2006, which was executed by Borrowers (the “Note”). The

original Note is indorsed in blank without recourse and is in the physical possession of Creditor.

True and correct copies of the Note and Mortgage are attached as Exhibit A to the Request for

Judicial Notice (“RJN”) filed concurrently herewith.

        2.      As security for the Loan, Borrowers executed, acknowledged, and delivered a

mortgage dated September 26, 2006, in favor of Rose Mortgage, Inc. (the “Mortgage”),

encumbering the Property. The Mortgage was duly recorded in the Office of the Nassau County

Clerk on October 17, 2006, under Liber 31098 at Page 692. Id.

        3.      On January 12, 2009, Rose Mortgage, Inc. executed an Assignment of Mortgage to

Deutsche Bank National Trust Company, As Trustee for Ixis 2006-HE3 (“DBNTC”), which was

recorded in the Office of the Nassau County Clerk’s Office on June 29, 2009, under Liber 33996

at Page 971.

        4.      On June 22, 2014, DBNTC executed an Assignment of Mortgage to Deutsche Bank

National Trust Company, as Trustee for Ixis Real Estate Capital Trust 2006-HE3 Mortgage Pass

Through Certificates, Series 2006-HE3 (“Investor”) recorded on July 17, 2014, under Liber



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M39805 at Page 673 in the Office of the Nassau County Clerk’s Office. True and correct copies

of the Assignments of Mortgage are attached as Exhibit B to the RJN.

        5.       PHH Mortgage Corporation (“PHH”), successor by merger to Ocwen Loan

Servicing, LLC (“OLS”),1 is the current servicer of the Loan held by Investor. See RJN, Exhibit

C.

        6.       Borrowers failed to make the monthly payment due on April 1, 2008, and have

failed to make all subsequent payments due thereafter. Borrowers have been in default under the

terms of the Note and Mortgage since April 2008.

        B.       Debtor’s 2010 Bankruptcy Case

        7.       On July 6, 2010, Debtor filed a Chapter 7 petition (“2010 Bankruptcy Petition”) in

the United States Bankruptcy Court for the Northern District of Georgia at Case Number 10-

79803-MHM (“2010 Bankruptcy Case”), which stayed the 2008 Foreclosure Action (defined

below). The 2010 Bankruptcy Petition, Schedule A, listed the Property as her former residence,

and Debtor’s Statement of Intention also identified the Property as “Former Residence” and stated

Debtor’s intention to surrender the Property to OLS, the loan servicer at the time, as the creditor.

Debtor did not claim the Property as exempt and proposed to surrender the Property. Further, the

2010 Bankruptcy Petition identified Debtor’s address as 312 Addison Lane, John’s Creek, GA

30005 and listed OLS, the loan servicer at the time, as the holder of a secured claim based on the

Mortgage. Moreover, the Chapter 7 Trustee’s Report of No Distribution included the Property as

one of the assets abandoned by the bankruptcy estate.




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 On June 1, 2019, OLS merged into PHH Mortgage Corporation. Publicly filed documents reflecting the merger (a
certificate of merger filed in New Jersey, where PHH is incorporated, and a certificate of merger filed in Delaware,
where OLS was incorporated) are attached as Exhibit C to the RJN.
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        8.      On April 21, 2011, the Bankruptcy Court entered the Discharge of Debtor(s) with

Order Approving Trustee’s Report of No Distribution, Closing Estate and Discharging Trustee

(“2011 Discharge Order”). Thus, Debtor received a Chapter 7 discharge, which extinguished her

personal liability on the Note and Mortgage, and also surrendered her interest and ownership rights

in the Property. True and correct copies of the Debtor’s 2010 Bankruptcy Petition, this Court’s

Docket in the 2010 Bankruptcy Case, which reflects the Chapter 7 Trustee’s Report of No

Distribution dated September 10, 2010, and the 2011 Discharge Order are attached as Exhibit D

to the RJN.

        C.      Debtor’s 2016 Chapter 13 Bankruptcy Case

        9.      After obtaining her Chapter 7 discharge,

        10.     on July 27, 2016, Debtor filed a Chapter 13 bankruptcy petition (“2016 Bankruptcy

Petition”) in the United States Bankruptcy Court for the Northern District of Georgia, Case

Number 16-62944-CRM (“2016 Bankruptcy Case”), which imposed another automatic stay. The

Chapter 13 2016 Bankruptcy Case was dismissed and subsequently closed on January 3, 2017.

        11.     Debtor did not list the Property in her 2016 Bankruptcy Petition as she had

previously surrendered her interest in the Property and obtained a discharge per the 2011 Discharge

Order. True and correct copies of the Debtor’s 2016 Bankruptcy Petition, the Bankruptcy Court’s

Docket in the 2016 Bankruptcy Case and the 2017 Discharge Order are attached as Exhibit E to

the RJN.

        D.      2008 Foreclosure Action

        12.     On August 29, 2008, Creditor’s predecessor-in-interest, DBNTC, commenced an

action to foreclose the Mortgage under Index No. 16378/2008 in Nassau County Supreme Court,

State of New York (the “2008 Foreclosure Action”) by filing a Summons and Complaint, together


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with a Notice of Pendency with the Nassau County Clerk’s Office. Borrowers were duly served

with the Summons and Complaint on September 6, 2008. A true and correct copy of the Clerk’s

Minutes from the 2008 Foreclosure Action are attached as Exhibit F to the RJN.

        13.     On September 30, 2008, Borrowers filed an Answer in the 2008 Foreclosure

Action. See RJN, Exhibit F.

        14.     On July 16, 2009, DBNTC filed a Motion for Summary Judgment (“MSJ”). See

RJN, Exhibit F.

        15.     On December 11, 2009, the state court issued a Decision and Order finding that

DBNTC established its prima facie entitlement to foreclose and directing DBNTC to produce the

original Note for inspection by the state court and opposing counsel, so the state court could grant

the MSJ.

        16.     On November 2, 2010, DBNTC produced the original Note for the state court’s

inspection. However, the state court never entered the Order of Reference attached to the

DBNTC’s MSJ. See RJN, Exhibit F.

        17.     Debtor’s 2011 Bankruptcy Case stayed the 2008 Foreclosure Action from July 6,

2010 until April 21, 2011.

        18.     On September 13, 2012, the state court mistakenly issued a 90-Day Conditional

Order directing DBNTC to file a note of issue or judgment of foreclosure and sale or else the

matter would be dismissed as abandoned even though the state court had not yet issued the Order

of Reference, and, thus, DBNTC could not proceed with a judgment of foreclosure and sale. See

RJN Exhibit F. The 2008 Foreclosure Action was marked “disposed” as of August 1, 2012.

        19.     Debtor’s 2016 Bankruptcy Petition, filed on July 27, 2016, imposed another

automatic stay until Debtor was discharged on January 3, 2017.


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        20.     On March 2, 2018, Creditor moved to vacate the dismissal of the 2008 Foreclosure

Action and to restore the case to the state court’s active calendar (“Motion to Restore”). See RJN,

Exhibit F.

        21.     On June 18, 2018, the state court issued a Decision and Order denying Creditor’s

Motion to Restore. A true and correct copy of the June 18, 2018 Decision and Order is attached as

Exhibit G to the RJN.

        22.     On March 5, 2020, Creditor filed a Notice of Entry and Notice of Appeal of the

Order denying Creditor’s Motion to Restore. True and correct copies of the Notice of Entry and

Notice of Appeal are attached as Exhibit H to the RJN. Creditor requested two (2) enlargements

of time to perfect the appeal, which the Appellate Court granted. As such, Creditor’s deadline to

perfect this appeal is currently November 2, 2020.

        23.     On March 17, 2020, Creditor filed a Motion to Reargue the state court’s Order

denying the Motion to Restore and seeking to restore the 2008 Foreclosure Action to the active

calendar (“Motion to Reargue”). The Motion to Reargue was returnable on September 2, 2020 but

was adjourned to November 2, 2020 after Debtor filed Opposition on September 1, 2020. True

and correct copies of the Motion to Reargue and Debtor’s Opposition to Motion to Reargue are

attached as Exhibit I to the RJN.

        E.      2017 Quiet Title Action

        24.     On February 7, 2017, Borrowers commenced a quiet title action pursuant to RPAPL

§ 1501(4) by filing a Summons and Complaint (“QT Complaint”) in the Nassau County Supreme

Court, State of New York, at Index No. 601072/2017 (“Quiet Title Action”), seeking to discharge

DBNTC’s Mortgage based on the alleged expiration of the statute of limitations to foreclose. A




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true and correct copy of the QT Complaint and WebCivil Supreme – eFiled Documents Detail in

the Quiet Title Action are attached as Exhibit J to the RJN.

        25.     Debtor is a named plaintiff in the QT Complaint even though she previously

surrendered her 50% interest in the Property on April 21, 2011, due to the Discharge Order and

based on her sworn Statement of Intention. See RJN, Exhibit D.

        26.     Borrowers’ QT Complaint also incorrectly named DBNTC, the Investor’s

predecessor-in-interest, as the defendant – the wrong party – because the Investor has been the

holder of the Loan since 2014, which was made public via the Assignment of Mortgage to Investor

recorded on July 11, 2014. See RJN, Exhibit J.

        27.     On April 5, 2017, the Investor’s prior counsel, Leopold, filed a Notice of

Appearance and mistakenly failed to file an Answer in the Quiet Title Action. See RJN, Exhibit

J.

        28.     On January 12, 2018, Borrowers filed a Motion for Default Judgment, the Investor

filed opposition on March 2, 2018, and Borrowers filed a reply. See id.

        29.     On April 16, 2018, the state court granted Borrowers’ Motion for Default Judgment

in the Quiet Title Action (“QT Default Judgment Order”). See RJN Exhibit J. The QT Default

Judgment Order was entered on April 25, 2018. See id.

        30.     On June 13, 2018, the state court entered an Order discharging the Investor’s

Mortgage (the Order incorrectly identifies DBNTC instead of the Investor) only with respect to

Lot 21, and then on June 29, 2018, the state court entered an Amended Order discharging the

Investor’s Mortgage with respect to Lots 21, 22, and 23 even though the QT Complaint never

included Lots 22 and 23 in its request for relief and was never amended. True and correct copies

of the Order discharging the Investor’s Mortgage with respect to Lot 21 and the Amended Order


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discharging the Investor’s Mortgage with respect to Lots 21, 22, and 23 are attached as Exhibit K

to the RJN.

        31.     On September 12, 2018, the Investor filed an Order to Show Cause, seeking to

vacate the QT Default Judgment Order, seeking leave to file a late answer and to enjoin Borrowers’

transfer or sale of the Property. On October 15, 2018, Borrowers filed an Opposition, and on

October 25, 2018, the state court issued a Decision and Order denying the Investor’s Order to

Show Cause (“QT OSC Denial Order”). A Notice of Entry of the QT OSC Denial Order was filed

on November 2, 2018. True and correct copies of the QT OSC Denial Order and Notice of Entry

are attached as Exhibit L to the RJN.

        F.      Pending Appeal of QT OSC Denial Order

        32.     On November 20, 2018, the Investor filed a Notice of Appeal of the QT OSC Denial

Order (the “QT Appeal”). The Investor also filed a request to enlarge the time to perfect the QT

Appeal, and the Appellate Division, Second Department (“Second Department”) issued an Order

granting an enlargement to July 19, 2019. Thus, based on the enlargement, the time to perfect the

QT Appeal expired on July 19, 2019.

        33.     On March 14, 2019, the Creditor transferred handling of the Borrowers’ Loan from

Leopold to RAS Boriskin, LLC (“RAS”) as part of a large, voluminous transfer of 545 cases.

        34.     On or about September 17, 2019, this matter was referred to Blank Rome LLP

(“Blank Rome”). Blank Rome then proceeded to obtain the relevant documents, including the

2008 Foreclosure Action documents, the clerk’s minutes, the Quiet Title Action documents, and

the Creditor’s internal documents to determine what had transpired in both actions and what

remedies were potentially available.




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        35.     Upon information and belief and information provided by RAS, Blank Rome

determined that when the handling of the matter was transferred to RAS, RAS was not informed

of the Quiet Title Action or the pending QT Appeal, and as a result, RAS failed to timely perfect

the QT Appeal or seek an additional enlargement of time.

        36.     On December 24, 2019, the Investor filed a Motion to Vacate the Dismissal of the

QT Appeal and Borrowers filed Opposition. On June 3, 2020, the Appellate Division Second

Department granted the Investor’s Motion to Vacate and extended the Investor’s time to perfect

the appeal to July 6, 2020. The Investor perfected the QT Appeal, Borrowers filed Opposition,

and the Investor filed a Reply Brief. As such, the appeal of the QT OSC Denial Order is pending

in the Second Department under Docket No. 2018-13767. True and correct copies of the Order

vacating the dismissal of the QT Appeal, the Investor’s Appellant’s Brief, Borrowers’

Respondents’ Brief and Investor’s Reply Brief are attached as Exhibit M to the RJN.

        37.     The Creditor (on behalf of the Investor) subsequently filed a motion to reopen the

above-captioned closed bankruptcy case (“Motion to Reopen”) to file a motion to (i) compel the

enforcement of Debtor’s surrender of the Property pursuant to her Statement of Intention, wherein

the Debtor represented under penalty of perjury that she would surrender her rights to the Property;

and (ii) hold Debtor in contempt of this Court’s 2011 Discharge Order. Borrower did not oppose

the Motion to Reopen, and this Court granted the Motion to Reopen on September 24, 2020.

        38.     Despite being on notice of Creditor’s position that Debtor surrendered the Property

in the instant Chapter 7 as indicated in the Motion to Reopen, Debtor continues to vigorously

contest Creditor’s foreclosure efforts, as evidenced by her most recent Motion to Dismiss Appeal

filed on September 25, 2020. A true and correct copy of the Motion to Dismiss Appeal is attached

as Exhibit N of the RJN.


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        39.     The Creditor (on behalf of the Investor) now brings this Motion to Compel Debtor

to Surrender Real Property Pursuant to Statement of Intention (“Motion to Compel”) and also

seeks sanctions in the form of the Creditor’s reasonable attorney’s fees and costs resulting from

Debtor’s improper litigation activity discussed in detail below.

                                                ARGUMENT

I.      THE COURT SHOULD ENTER AN ORDER COMPELLING DEBTOR TO
        SURRENDER THE REAL PROPERTY PURSUANT TO HER SWORN
        STATEMENT OF INTENTION

        40.     11 U.S.C. Section 521(a) states, in pertinent part, that:

        (a) The debtor shall –

                                    ***

                       (2) if an individual debtor’s schedule of assets and liabilities
                includes debts which are secured by property of the estate—

                                     (A) within thirty days after the date of the filing of a petition
                            under chapter 7 of this title or on or before the date of the meeting
                            of creditors, whichever is earlier, or within such additional time as
                            the court, for cause, within such period fixes, file with the cler a
                            statement of his intention with respect to the retention or surrender
                            of such property and, if applicable, specifying that such property is
                            claimed as exempt, that the debtor intends to redeem such property,
                            or that the debtor intends to reaffirm debts secured by such property;
                            and
                                     (B) within 30 days after the first date set for the meeting of
                            creditors under section 341(a), or within such additional time as the
                            court, for cause, withing such 30-day period fixes, perform his
                            intention with respect to such property, as specified by subparagraph
                            (A) of this paragraph[.]

        41.     With respect to a secured debt, section 521(a)(2) requires a Chapter 7 debtor to

surrender the collateral to the secured creditor absent a reaffirmation agreement or redemption of

the collateral. See In re Taylor, 3 F.3d 1512, 1516 (11th Cir. 1993); In re Steinberg, 447 B.R. 355,

358 (Bankr. S.D. Fla. 2011); In re Linderman, 435 B.R. 715 (Bankr. M.D. Fla 2009).


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        42.     “Surrender provides that a debtor surrenders the collateral to the lienholder who

then disposes of it pursuant to the requirements of state law.” In re Taylor, 2 F.3d at 1515 n.2. By

filing a statement of intention to surrender collateral, the debtor agrees to make that collateral

available to the secured creditor and agrees to cede his possessory rights in that collateral within

the timeframe set forth in section 521(a)(2)(B). See In re Cornejo, 342 B.R. 834, 837 (Bankr.

M.D. Fla. 2005); Pratt v. General Motors Acceptance Corp. (In re Pratt), 462 F..3d 14, 18-19 (1st

Cir. 2006).

        43.     “In Taylor, the 11th Circuit Court of Appeals has interpreted section 521 of the

Bankruptcy Code to mean that the Debtor’s performance of the stated intention is mandatory.” In

re Harris, 226, B.R. 924, 926 (Bankr. S.D. Fla. 1998) (emphasis added). “Under Taylor, a debtor

unwilling to reaffirm and unable to pay off the mortgage obligation is required to indicate an intent

to surrender the home and to tender the property to the mortgagee.” In re Steinberg, ,447 B.R. at

358.

        44.     Notably, the Eleventh Circuit has held that where a debtor surrenders her interest

in the property to the creditor, the debtor cannot then oppose the creditor’s foreclosure action or

seek to enforce rights in that property. See In re Failla, 838 F.3d 1170, 1177 (11th Cir. 2016).

Specifically, in In re Failla, the Faillas defaulted on their mortgage and then filed for bankruptcy

during the pendency of the creditor’s foreclosure action. Id. In the bankruptcy case, the “Faillas

admitted that they own the house, that the house is collateral for the mortgage, that the mortgage

is valid, and that the balance of the mortgage exceeds the value of the house.” Id at 1173. The

Faillas also filed a statement of intention under 11 U.S.C. § 521(a)(2) to surrender their house in

their bankruptcy, but, subsequently, contested the creditor’s foreclosure action. Id. at 1173. As a

result, the creditor, filed a motion to compel the Faillas to surrender of the property in the


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Bankruptcy Court, arguing that the “Faillas’ opposition to the foreclosure action contradicted their

statement of intention to surrender the house.” Id. at 1173-1174. The Bankruptcy Court granted

creditor’s motion to compel surrender and ordered the Faillas to stop opposing the foreclosure

action, and the District Court affirmed on appeal. Id. at 1174.

         45.      The Faillas further appealed to the Eleventh Circuit, and the Eleventh Circuit held

that under Section 521(a)(2), the Faillas were required to “perform [their] intention with respect to

such property” as stated in debtors’ Statement of Intention within thirty (30) days. Id. Further,

the Eleventh Circuit held that “the district court and the bankruptcy court correctly concluded that

the Faillas violated Section 521(a)(2) by opposing Citibank’s foreclosure action after filing a

statement of intention to surrender their house.” Id. at 1175. “Compelling the [Faillas] to stop

opposing the foreclosure action requires them to honor that declaration. The Faillas may not say

one thing in bankruptcy court and another thing in state court.” Id. at 1178.

         46.      In reaching its decision, the Eleventh Circuit explained, as follows:

         The concern here is that the Debtor is making a mockery of the legal system by
         taking inconsistent positions. In an effort to obtain her chapter 7 discharge, the
         Debtor swears—under the penalty of perjury—an intention to ‘surrender’ her
         property. In other words, the Debtor is representing to the Court that she will make
         her property available to the Bank by refraining from taking any overt act that
         impedes the Bank’s ability to foreclose its interest in the property. Yet, once she
         receives her discharge, the Debtor in fact impedes the Bank’s ability to foreclose
         its mortgage.

Id. at 1178 (citing In re Guerra, 544 B.R. 707, 710 (Bankr. M.D. Fla. 2016)) (emphasis added).

Thus, the Eleventh Circuit agreed that the Faillas’ promise to “‘surrender’ [the property] requires

debtors to drop their opposition to a foreclosure action.” Id. at 1177.2


2
 The Eleventh Circuit adopted other circuit courts’ definition of the word “surrender” to mean “the debtor agreed to
make the collateral available to the secured creditor . . . to cede his possessory rights in the collateral” (see In re
Pratt, 462 F.3d 14, 18-19 (1st Cir. 2006)) and “relinquishment of all rights in property, including the possessor right,
even if such relinquishment does not always require immediate physical delivery of the property to another” (see In
re White, 487 F.3d 199, 205 (4th Cir. 2007)).
                                                          15

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        47.     Here, as in In re Failla, pursuant to the 2011 Discharge Order, this Court approved

the Chapter 7 Trustee’s Report of No Distribution, which included the Property on the list of assets

abandoned by the bankruptcy estate. See RJN, Exhibit D. The 2011 Discharge Order and the

Chapter 7 Trustee’s Report of No Distribution were based on Debtor’s sworn representations in

Debtor’s Statement of Intention, pursuant to Section § 521(a)(2), that (i) the Property was a

“former residence” and “not claimed as exempt”; and (ii) Debtor intended to surrender the

Property to the Creditor. See RJN, Ex. D – 2011 Discharge Order p. 40. Moreover, Debtor had

already physically abandoned the Property by moving to Georgia, as confirmed by Debtor’s

Georgia address identified in the 2010 Bankruptcy Petition. See id. at page 1.

        48.     Just as in In re Failla, the Debtor here contradicted her sworn Statement of Intention

and violated 11 U.S.C. § 521(a)(2)(B) by taking an inconsistent position when she challenged the

2008 Foreclosure Action instead of surrendering the Property to the Creditor. In addition, Debtor

contradicted her sworn Statement of Intention by taking additional inconsistent positions when she

(i) commenced the 2017 Quiet Title Action, where she sought title to the same Property, alleging

that she had possession and right to title; and (ii) improperly obtained a discharge of her

Mortgage. See RJN, Exhibit J. Notably and egregiously, Debtor continues to oppose the Investor’s

attempt to reargue the improper denial of the Motion to Restore the 2008 Foreclosure Action and

the Appeal of the OSC Denial Order in the 2017 Quiet Title Action. Debtor’s actions are the exact

opposite of surrendering or ceding rights to the Property. In fact, Debtor aggressively asserted

rights to the Property that she previously surrendered under penalty of perjury. Therefore, Debtor’s

conduct in this case is even more egregious than the Faillas’ conduct.

        49.     Because the Debtor did not dispute her Mortgage debt, which she listed on Schedule

D, Debtor admitted under penalty of perjury, the validity of that debt and that such debt is secured


                                                 16

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by the Mortgage. See In re MacFarland, 462 B.R. 857, 881 (Bankr. S.D. Fla. 2011). In fact,

Debtor noted in her Schedule D that “foreclosure proceeding started / account delinquent 180 days

past due date,” which clearly shows Debtor acknowledged the debt as valid and that she was in

default of her obligation to pay.

        50.       Consistent with that admission, Debtor filed the Statement of Intention

representing the Property would be surrendered to Creditor.

        51.      However, rather than complying with the mandatory dictates of section

521(a)(2)(B) by performing on her Statement of Intention and surrendering the Property to

Creditor, Debtor received a bankruptcy discharge from this Court and then began, and continues,

to vigorously oppose Creditor’s efforts to foreclose on the Property.

        52.      In doing so, Debtor has retained the Property without reaffirming or redeeming and

obtained a “head start” and not a “fresh start” because she has effectively converted the secured

obligation from recourse to nonrecourse with no downside risk for failing to maintain or insure

Creditor’s Property. See In re Taylor, 3 F.3d at 1516.

        53.      Debtor has maliciously engineered a no-asset bankruptcy through her manipulative

actions. If Debtor’s bankruptcy schedules had been consistent with her pre-petition bankruptcy

position as to the validity of the loan documents, Debtor would have listed on Schedule D that the

mortgage claim was disputed. The Chapter 7 trustee could have then administered the Property

for the benefit of the Bankruptcy Estate.3

        54.      Debtor has obtained the fullest benefit of a Chapter 7 bankruptcy proceeding—a

discharge in a no-asset case in which Debtor was able to retain all property—without the attendant




3
  To explain, because the Property was not claimed by the Debtor as exempt, the chapter 7 trustee would have been
able to stand in the shoes of Debtor and resolve the dispute for the benefit of the Bankruptcy Estate.
                                                       17

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and mandatory burden of complying with section 521(a)(2). These manipulative actions amount

to fraud upon the Court.

        55.     The Court has the power under 11 U.S.C. Section 105(a) to compel Debtor to

surrender the Property to comply with her sworn Statement of Intention and the 2011 Discharge

Order and should do so here. See In re Harris, 226 B.R. at 925. This would include (i) ceasing

all challenges to the 2008 Foreclosure Action; (ii) ceasing Debtor’s prosecution of the Quiet Title

Action and vacating the Amended Default Judgment Order discharging the Mortgage; and (iii)

surrendering the Property to the Creditor as she had promised.

        56.     Moreover, the Bankruptcy Court’s 2011 Discharge Order granting a Chapter 7

discharge to Debtor and approving the Trustee’s Report of No Distribution constitutes a final

judgment on the merits as a matter of law. As such, res judicata and judicial estoppel also preclude

Debtor from asserting any contrary positions after the 2011 Discharge Order. See In re Bateman,

331 F.3d 821 (11th Cir. 2003). Since Debtor never appealed the 2011 Discharge Order or reopened

this 2010 Bankruptcy Case and subsequently filed a new 2016 Bankruptcy Case, where she did

not even mention the Property or seek to alter her prior surrender of the Property, Debtor must

surrender the Property as required by 11 U.S.C. § 521(a)(2)(B). See RJN, Exhibits D and E.

Therefore, Debtor no longer has the right to (i) contest the 2008 Foreclosure Action, including the

prior Motion to Restore and the pending Motion to Reargue, and/or (ii) prosecute the Quiet Title

Action, including contesting the QT Appeal.

        57.     Debtor’s improper conduct is “making a mockery” of the legal system by taking

inconsistent positions.




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        58.     As such, this Court has the authority to direct Debtor to comply with her sworn

Statement of Intention and the 2011 Discharge Order, which mandated that she surrender her rights

in the Property.

                                             CONCLUSION

        For all the foregoing reasons, Creditor respectfully requests that this Court issue an Order

granting this Motion to Compel in its entirety. Additionally, Movant seeks an award of reasonable

attorney fees and costs incurred in connection with filing the Motion to Reopen and instant Motion

to Compel and any other relief the Court deem necessary and just.

                                                      Respectfully submitted,


                                                         /s/Brian K. Jordan________________
                                                         Brian K. Jordan, Bar No.: 113008
                                                         Counsel for Creditor PHH
                                                         Mortgage Corporation, successor by
                                                         merger with Ocwen Loan Servicing,
                                                         LLC, as attorney-in-fact for Deutsche
                                                         Bank National Trust Company, as
                                                         Trustee for Ixis Real Estate Capital Trust
                                                         2006-HE3 Mortgage Pass Through
                                                         Certificates, Series 2006-HE3
                                                         Aldridge Pite, LLP
                                                         Fifteen Piedmont Center
                                                         3575 Piedmont Road, N.E., Suite 500
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                                                         Phone: (404) 994-7400
                                                         Fax: (619) 590-1385
                                                         Email: bjordan@aldridgepite.com




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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


 IN RE:                                                   CASE NO. 10-79803


 SUSAN PISTILLO,                                          CHAPTER: 7
                  Debtor.



 PHH MORTGAGE CORPORATION,
 SUCCESSOR BY MERGER TO OCWEN                             CONTESTED MATTER
 LOAN SERVICING, LLC AS ATTORNEY-
 IN-FACT FOR DEUTSCHE BANK
 NATIONAL TRUST COMPANY, AS
 TRUSTEE FOR IXIS REAL ESTATE
 CAPITAL TRUST 2006-HE3 MORTGAGE
 PASS THROUGH CERTIFICATES, SERIES
 2006-HE3,
                  Movant,
                  v.
 SUSAN PISTILLO, Debtor,
                  Respondent.


                                     CERTIFICATE OF SERVICE

    I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter

mentioned, was more than 18 years of age, and that on October 12, 2020, I caused the MOTION

TO COMPEL DEBTOR TO SURRENDER REAL PROPERTY PURSUANT TO STATEMENT

OF INTENTION which was filed in this bankruptcy matter on October 12, 2020, to be served in

the manner indicated:
                                                  20

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    The following parties have been served by the Court by the virtue of their participation
in the CM/ECF system:

 Kevin J. Cowart

 S. Gregory Hays

The following parties have been served via U.S. First Class Mail:

 Susan Pistillo                                   Susan Pistillo
 312 Addison Lane                                 420 Wyndham Farms Way
 John's Creek, GA 30005                           Milton, GA 30004




I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE

AND CORRECT.

DATED: October 12, 2020
                                                        /s/Brian K. Jordan________________
                                                        Brian K. Jordan, Bar No.: 113008
                                                        Counsel for Creditor PHH
                                                        Mortgage Corporation, successor by
                                                        merger with Ocwen Loan Servicing,
                                                        LLC, as attorney-in-fact for Deutsche
                                                        Bank National Trust Company, as
                                                        Trustee for Ixis Real Estate Capital Trust
                                                        2006-HE3 Mortgage Pass Through
                                                        Certificates, Series 2006-HE3
                                                        Aldridge Pite, LLP
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                                                        Fax: (619) 590-1385
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